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ART ASK AGENCY,

V.

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED

ON SCHEDULE A HERETO,

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

Case No.: 19-cv-5512
Plaintiff,

Judge: Charles P. Kocoras

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Defendants.

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs ART ASK

AGENCY, hereby dismiss with prejudice all causes of action in the complaint against the following

Defendants identified in Schedule A. Each party shall bear its own attorney’s fees and costs.

No.

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214
225
228
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Defendant

huilaihuiqu

Sunshine Fashion Trading Co., Ltd.
Hui Lei

Xiao Zhang X
chen20hao

chenlin3
fanxianshengdewujing
guilinbaobao

Hepy

Ho wenwen
hongchennongmao
Lee’s shoppp

litingjie

Myonly_

Posterazzi

Skiwi

xlaochuansw
Xinsheng Technology
ZHAOMEINV
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The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.

Respectfully submitted,

Dated: November 11, 2019 By: s/Michael A. Hier]
Michael A. Hierl (Bar No. 3128021)
William B. Kalbac (Bar No. 6301771)
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Chicago, Illinois 60602
(312) 580-0100 Telephone

mhierl@hsplegal.com

Attorneys for Plaintiffs
ART ASK AGENCY
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CERTIFICATE OF SERVICE
The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of

Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on November 11, 2019.

s/Michael A. Hierl

 
